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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA


   CHRISTINA MCLAUGHLIN,                     *.
                                             *
               Plaintiff,                    *
                                             * Civil Action No. 20-cv-22942
               v.                            *
                                             *
   FLORIDA INTERNATIONAL UNIVERSITY          *
   BOARD OF TRUSTEES, et al.                 *
                                             *
               Defendants.                   *
   ______________________________________________________________________________

                            DECLARATION OF TRACEY SASSER

         I, Tracey Sasser, declare as follows, pursuant to 28 U.S.C. § 1746:

      1. I am employed as Assistant General Counsel, Division of Business and Administrative

         Law, United States Department of Education (Department). I have served in this

         position, in either an acting or a permanent capacity, since September, 2008.


      2. As Assistant General Counsel, I serve as Department Claims Officer, under authority set

         forth at 34 C.F.R. Part 35. As Department Claims Officer, I am responsible for

         investigating claims filed against the Department under the Federal Tort Claims Act

         (FTCA), 28 U.S.C. §§ 2671-2680, and for issuing administrative determinations on such

         claims. I am also custodian of the Department’s records relating to FTCA claims filed

         against the Department.


      3. The Department’s FTCA regulation provides, in pertinent part, for administrative FTCA

         claims to be filed with me at the following address: Department of Education Claims

         Officer, Washington, DC 20202. 34 C.F.R. § 35.2(c).



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      4. I certify that I have directed my staff to conduct a careful search of the Department’s

         FTCA claim files, and that such review located no record of any FTCA claim properly

         filed by Christina McLaughlin, the Plaintiff herein, relative to the claims asserted in the

         above-captioned action.




         I declare under penalty of perjury that the foregoing is true and correct.




                                                         Tracey Sasser         Digitally signed by Tracey Sasser
                                                                               Date: 2020.10.09 08:57:14 -04'00'

                                                       _________________________________
                                                       Tracey Sasser




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